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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )       Crim. No. 1:19-cr-148
                                                     )
                                                     )       Hon. Judge Kollar-Kotelly
PRAKAZREL MICHEL                                     )
                                                     )
               Defendant.                            )


                   MOTION TO MODIFY CONDITIONS OF RELEASE
                      TO ALLOW FOR TEMPORARY TRAVEL
       Comes now Defendant, Prakazrel Michel, by and through his counsel, David E. Kenner,

and moves this honorable court to modify the conditions of his release to allow Mr. Michel to

travel to London, England from July 19 to July 26 and in support thereof states the following1:

    1. On May 10, 2019, this Honorable Court set the conditions of release for Mr. Michel.

    2. As part of those conditions for release, Mr. Michel surrendered his passport to Pretrial

       Services Agency.

    3. During that past several Status Conferences, Mr. Michel has confirmed to the Court his

       compliance with the Order setting conditions of his release.

    4. Through his business partnership with Rolls Royce, as part of his obligations to that, he is

       scheduled to host an event in London.

    5. Mr. Michel is planning to depart from the U.S. on a direct flight to London, England on

       July 19, 2022 and to return on July 26, 2022. He intends to stay at a hotel in London. All

       specifics and any other details shall be provided to the Court and Pretrial Services.

    6. Mr. Michel is willing to abide by any special conditions this Court would wish to impose

1
 If this Honorable Court requires more detail or information, Defendant requests a remote
appearance for oral arguments at the Court’s discretion and schedule.
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       during this trip (e.g., daily check-ins by phone).

   7. Defense Counsel attempted to reach AUSA John Keller via email yesterday to confirm

       that the Government would not oppose this motion, but thus far counsel has not received

       a reply.



   WHEREFORE, for the foregoing reasons and any other that may occur to the Court, the

Defendant respectfully requests that this Honorable Court modify the conditions of his release

from custody and allow him to travel temporarily as described above.



Respectfully submitted this 2nd day of July, 2022.

                                                      /s/ David Kenner
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                                                      Retained Counsel for the Defendant
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

counsel of record.



Dated: July 2, 2022                               /s/ Charles R. Haskell
